Case 1:20-cr-00568-AT Document 20 Filed 11/9

  

 

 

 

DOCUMENT
ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT DOC #
SOUTHERN DISTRICT OF NEW YORK DATE FILED: 11/5/2020
x
UNITED STATES OF AMERICA, CONSENT TO PROCEED BY
VIDEOCONFERENCE
-\V-
AT
20 -CR- 068 (__)(__)
Jian Li ,
Defendant(s).
x
Defendant Jian Li hereby voluntarily consents to

 

participate in the following proceeding via videoconferencing:
Initial Appearance/Appointment of Counsel

Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
Indictment Form)

Preliminary Hearing on Felony Complaint

Bail/Revocation/Detention Hearing

 

 

x Status and/or Scheduling Conference
____~—_ Misdemeanor Plea/Trial/Sentence

Quan Le NUM Annalkesa Wiren
Defendant’s Signature Defense Counsel’s Signature

(Judge may obtain verbal consent on
Record and Sign for Defendant)

Jian Li Annalisa Miron

Print Defendant’s Name Print Defense Counsel’s Name

 

 

This proceeding was conducted by reliable videoconferencing technology.

11/5/2020 O}-

Date ANALISA TORRES
United States District Judge
